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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

 Case No.       LA CV14-01420 JAK (SSx)                                                 Date     November 2, 2015
 Title          Advanced Advisors G. P. v. Stephen Berman, et al.
                (Consolidated Case LA CV14-01670 JAK (SSx): Louisiana Municipal Police Employees Retirement System v.
                Stephen Berman, et al.)




 Present: The Honorable               JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    Andrea Keifer                                                       Alex Joko
                     Deputy Clerk                                           Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                           Attorneys Present for Defendants:
                     David N. Lake                                               Peter B. Morrison
                 Laurence D. Paskowitz                                              Diane Bang
                    Jeffrey C. Block                                            Matthew D. Umhofer
                    Joel E. Fleming
                     Roy L. Jacobs


 Proceedings:               PLAINTIFF'S MOTION FOR FINAL APPROVAL OF SHAREHOLDER
                            DERIVATIVE SETTLEMENT (DKT. 121)

                            PLAINTIFF'S MOTION FOR AN AWARD OF ATTORNEY'S FEES (DKT.
                            120)

                            PLAINTIFF'S MOTION FOR AN ORDER PERMITTING SUBMISSION OF
                            EXPERT DECLARATION RELYING ON DISCOVERY MATERIALS (DKT.
                            119)

The motion hearing is held. The Court states its tentative views that it is inclined to grant Plaintiff’s Motion
for Final Approval of Shareholder Derivative Settlement (the “Settlement Motion”) and deny Plaintiff’s
Motion for an Order Permitting Submission of Expert Declaration Relying on Discovery Materials (the
“Discovery Motion”). Counsel address the Court. The Court takes the Settlement Motion, Discovery
Motion, and Plaintiff’s Motion for an Award of Attorney’s Fees UNDER SUBMISSION and will issue a
ruling.

IT IS SO ORDERED.
                                                                                                        :      35

                                                                 Initials of Preparer       ak




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